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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

STUDENTS FOR JUSTICE IN PALESTINE
AT THE UNIVERSITY OF FLORIDA,

      Plaintiff,

V.                                             Case No.: 1:23cv275-MW/MJF


RAYMOND RODRIGUES, et al.,

     Defendants.
__________________________/

      ORDER GRANTING MOTION TO DISMISS AND DISMISSING
       COMPLAINT AGAINST ALL REMAINING DEFENDANTS

      On January 26, 2024, this Court heard the Board of Governors members’ and

Chancellor’s motion to dismiss. ECF No. 37. Defendant moves to dismiss Plaintiff’s

claim against them for, among other things, failure to allege sufficient facts to

establish standing at the pleading stage. As it must, this Court first addresses this

threshold jurisdictional issue.

      Ordinarily, a motion to dismiss for lack of subject matter jurisdiction “can be

asserted on either facial or factual grounds.” Carmichael v. Kellogg, Brown & Root

Servs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009) (citation omitted). “ ‘Facial

attacks’ on the complaint ‘require the court merely to look and see if the plaintiff has

sufficiently alleged a basis of subject matter jurisdiction, and the allegations in his
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complaint are taken as true for the purposes of the motion.’ ” Lawrence v. Dunbar,

919 F.2d 1525, 1529 (11th Cir. 1990) (quoting Menchaca v. Chrysler Credit Corp.,

613 F.2d 507, 511 (5th Cir. 1980)). “ ‘Factual attacks,’ on the other hand, challenge

‘the existence of subject matter jurisdiction in fact, irrespective of the pleadings, and

matters outside the pleadings, such as testimony and affidavits, are considered.’ ” Id.

      “These two forms of attack differ substantially.” Id. “On a facial attack, a

plaintiff is afforded safeguards similar to those provided in opposing a Rule 12(b)(6)

motion—the court must consider the allegations of the complaint to be true.” Id.

(citing Williamson v. Tucker, 645 F.2d 404, 412 (5th Cir. 1981)). But when an attack

is factual, this Court has “substantial authority . . . to weigh the evidence and satisfy

itself as to the existence of its power to hear the case.” Id. (quoting Williamson, 645

F.2d at 412–13). “In short, no presumptive truthfulness attaches to plaintiff’s

allegations, and the existence of disputed material facts will not preclude [this Court]

from evaluating for itself the merits of jurisdictional claims.” Id.

      Here, Defendants do not identify whether their motion raises a facial or factual

challenge to Plaintiff’s standing to proceed against them. But, as the parties agreed

on the record at the hearing, the material facts are largely undisputed with respect to

Plaintiff’s standing. Moreover, the parties’ arguments concerning Plaintiff’s standing

have centered on matters outside of the pleadings and the record that Plaintiff has

developed in an attempt to support its standing arguments. To the extent Defendants

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raise a factual attack on Plaintiff’s standing, this Court incorporates by reference its

analysis from its order denying Plaintiff’s motion for preliminary injunction as to

the deficiencies in the record with respect to Plaintiff’s standing. See ECF No. 79 at

6–19.

        In an abundance of caution, however, this Court also considers Defendants’

motion as raising a facial challenge to Plaintiff’s alleged standing. In so doing, this

Court considers whether Plaintiff’s complaint (and all attachments thereto) “clearly

alleges facts demonstrating each element [of standing].” Glynn Env. Coalition, Inc.

v. Sea Island Acquisition, LLC, 26 F.4th 1235, 1241 (11th Cir. 2022) (internal

quotation marks omitted).

        To establish standing, Plaintiff must show (1) that it has suffered an injury-in-

fact that is (2) traceable to Defendants and that (3) can likely be redressed by a

favorable ruling. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

Here, Plaintiff alleges that the Chancellor’s memorandum (issued “in consultation

with” Defendant DeSantis) threatens to deactivate its organization, chills its current

members, and deters prospective members from associating with Plaintiff. ECF No.

1 ¶¶ 73–74. Plaintiff asks this Court to “[i]ssue preliminary and permanent injunctive

relief restraining” Defendants “from enforcing the Deactivation Order.” Id. at 24.

        Beginning with the injury-in-fact requirement, Plaintiff’s factual allegations

and all reasonable inferences drawn therefrom in Plaintiff’s favor fail to demonstrate

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a cognizable injury-in-fact. Plaintiff argues that it has sufficiently alleged that (1) its

members and prospective members have had their speech and association chilled,

and (2) that the threat of deactivation itself harms Plaintiff. This Court will address

the deficiencies with each asserted injury, beginning with chilled speech and

association.

      To start, Plaintiff does not allege that any current members have self-censored.

At most, Plaintiff alleges that its members subjectively fear deactivation or criminal

investigation in the future, but Plaintiff provides no facts that permit a reasonable

inference that Plaintiff’s members have changed their speech or association based

on these fears—or, as discussed in more detail below—that the deactivation or

criminal investigation they fear is imminent.

      At most, Plaintiff alleges that prospective members are “deterred” from

associating with Plaintiff. ECF No. 1 ¶ 74. But, again, Plaintiff grounds this chilled

association upon prospective members’ fear that they will be “punished or

investigated by the University or law enforcement because of their participation in

our group.” ECF No. 1-4 ¶ 43. However, Plaintiff has alleged no facts that permit a

reasonable inference that the University intends to punish any students for

associating with Plaintiff or that law enforcement intends to investigate them for

criminal charges. And this Court cannot reasonably infer that Plaintiff’s prospective




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members are objectively chilled from associating with Plaintiff absent additional

factual allegations that permit such an inference.

      Plaintiff’s conclusory allegations of chill do not suffice. Moreover, Plaintiff’s

factual allegations contradict the inference that Plaintiff asks this Court to draw.

Specifically, Plaintiff alleges that “since October 7, we have gained 663 followers

on Instagram . . . .” and that Plaintiff’s “Instagram posts now reach 9,000 accounts.”

Id. ¶ 17. More importantly, Plaintiff alleges that although previous events “typically

drew 10 attendees, one recent event attracted an overflowing crowd at a large lecture

hall on campus.” Id.

      Setting aside conclusory allegations of “chilled speech,” Plaintiff’s complaint

is devoid of any other factual allegations from which this Court could reasonably

infer that Plaintiff’s members or prospective members are reasonably chilled from

speaking or associating with Plaintiff, or that they continue to speak or associate but

face a credible threat of prosecution for doing so. As discussed below, Plaintiff has

not plausibly alleged that deactivation is imminent. Nor has Plaintiff alleged any

facts giving rise to a reasonable inference that Plaintiff or its members face any

imminent criminal investigation. Instead, Plaintiff’s complaint and attachments

thereto plausibly allege that the organization has repeatedly engaged in activism on

campus and online since October 7, 2023, but now, they fear that continuing to do

so will subject them to some sort of punishment or investigation. But Plaintiff has

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not provided any facts from which this Court could infer that the University intends

to punish them for their activism or that law enforcement intends to investigate them

for some hypothetical criminal charge. As for the Governor, he has been dismissed

from this action by separate order and poses no imminent threat of punishing or

investigating individual students at the University of Florida. And Plaintiff has not

alleged any facts to suggest that the Board of Governors or the Chancellor have

disciplinary authority over individual students. In short, Plaintiff’s complaint fails to

plausibly demonstrate a cognizable injury based on chilled speech or association.

      As to the threat of deactivation, Plaintiff’s factual allegations do not permit a

reasonable inference that this asserted injury is imminent. For starters, Plaintiff’s

allegations make plain that it has not yet been deactivated. Plaintiff’s complaint

describes the Chancellor’s memorandum which arguably ordered Plaintiff’s

university president to deactivate their organization in addition to public comments

that the Chancellor made on November 9, 2023, describing other actions the

University will take in lieu of deactivation. ECF No. 1 ¶¶ 62–71, 76; id. at 20 (exhibit

of Chancellor’s memorandum attached to complaint). But Plaintiff has alleged no

facts to support the inference that the Board of Trustees, who is legally responsible

for regulating registered student organizations, has taken any action in furtherance

of the memorandum’s alleged “deactivation order.” Indeed, Plaintiff’s allegation

that the Chancellor announced other actions—that is, actions other than

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“deactivation”—that the University contemplated for Plaintiff contradicts the

inference that the University intended to deactivate them after November 9, 2023.

Thus, notwithstanding the fact that no one has expressly said that they will not

deactivate Plaintiff, the facts as alleged do not permit a reasonable inference that

anyone with the power to do so intends to deactivate Plaintiff going forward. On this

point, the University Defendant’s silence cuts both ways. While they have not

expressly disavowed the Chancellor’s memorandum, the University Defendants

have also not defended it or any action that they may have taken in furtherance of it.

But, of course, Plaintiff has not alleged any facts demonstrating that the University

Defendants have taken any action in furtherance of the “deactivation order.”

Accordingly, Defendant’s motion, ECF No. 37, is GRANTED. Plaintiff’s claim

against the members of the Board of Governors and the Chancellor is DISMISSED

without prejudice for lack of jurisdiction.

      Finally, although the members of the Board of Trustees and President Sasse

have not moved to dismiss Plaintiff’s complaint, this Court has an independent

obligation to determine whether it has jurisdiction at each stage in the proceeding as

to each Defendant. For the same reasons set out above, this Court concludes that

Plaintiff lacks standing to proceed against the University Defendants. Accordingly,

Plaintiff’s claim is also DISMISSED without prejudice for lack of jurisdiction.




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      Going forward, Plaintiff has three options. Plaintiff may file an amended

complaint in the event Plaintiff is able to allege additional facts that establish

standing. Plaintiff may appeal this Order after this Court enters judgment. Or

Plaintiff may notify this Court that it does not intend to appeal or amend and may

file a new case at a later date if it so chooses. On or before Thursday, February

15, 2024, Plaintiff must either file an amended complaint or, if Plaintiff does not

intend to amend its complaint, Plaintiff must file a notice with this Court indicating

how it intends to proceed.

      SO ORDERED on February 1, 2024.

                                              s/Mark E. Walker             ____
                                              Chief United States District Judge




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